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From:                              Glenn Cogswell (TAX) <glenncog@microsoft.com>
Sent:                              Tuesday, December 21, 2004 12:24 AM
To:                                George, Gregory L
Cc:                                Weaver, Brett A
Subject:                           FW: Draft powerpoint
Attachments:                       PR Cost Sharing 122004 draft.ppt

Importance:                        High



I have some edits and I have also changed the order. I'll call you to discuss.
-----Original Message-----
From: George, Gregory L [mailto:glgeorge@kpmg.com]
Sent: Monday, December 20, 2004 12:00 PM
To: Glenn Cogswell (TAX)
Cc: Weaver, Brett A; Sample, Bridget M
Subject: Draft powerpoint
Importance: High
Glenn,
Please review the draft powerpoint presentation. Currently slide 6 has no information. May need to get this from ops
group.
The benefits numbers changed slightly from our last meeting on November 5th.
This was due to updates for transfer pricing assumptions based on input from Nancy and David.
 «PR Cost Sharing 122004 draft.ppt»
Gregory L. George
International Corporate Services
Seattle, WA
206.913.6556 phone
206.913.6735 fax
gjggQr@..@ kpmg. com
Our advice in this communication is limited to the conclusions specifically set forth herein and is based on the
completeness and accuracy of the above-stated facts, assumptions and representations. In rendering our advice, we are
relying upon relevant authorities that are subject to change, sometimes retroactively. We will not update our advice for
subsequent changes to authorities or interpretations thereof.
************************************************************************
*****
The information in this email is confidential and may be legally privileged.
It is intended solely for the addressee. Access to this email by anyone else is unauthorized.
If you are not the intended recipient, any disclosure, copying, distribution or any action taken or omitted to be taken in
reliance on it, is prohibited and may be unlawful. When addressed to our clients any opinions or advice contained in this
email are subject to the terms and conditions expressed in
the governing KPMG client engagement letter.
************************************************************************
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                        Planning Alten1atives .in .Puel'to Rico

                                    December 2L 2004




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                                Puerto Rico- Pro1Joscd Otlerational Chatlges


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                                 ·Puerto Rico- An•c•·icns Retail Rewnue


                    .FY <H Americas .Retail Revenue derived froru C:Os/DVDs
                    JVhmul~.l.clured in Puerto Rico


                     •   Client (excludes OE.M)               $.:k986 billion
                     •   TnformaHon \Vorker (e:-,;cludes OEM) $.1. 590 bi Ilion
                     •   Sen er & Tools (excludes OEM)        $1.:1-08 billion
                     •   MBS                                  $0 ..H 7 billion

                    Total                                       $lo.:n l billion




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                                   Pu.et1o Ri.co- .Estimated BCiwfits


                    Estimmed tax b{~Hefits under currenltax la1v over a ten year period
                    results in the following.

                       NPV Cash T'ax Sm.·lngs oyer 10 Yrs:                $2.()588
                       ETR Percentage Points 'Reduction:                  ~2.9fl%,

                       Earnings Per Share Increase:                       $0.12




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                         Continuing Opcn1tions iu Puet·to llico- A.dvantagcs


                     Why Now?

                     • lJS tax deferral may partially offset fbregone Sec. 936
                       tax credit and FSC/EIE
                     • 1VIost cornpanies have or are in the process of
                       replacing Sec 936 benefit with silnilar deferral
                       structures
                     • Other priority tax projects are now completed
                     • Greater predictability with respect to equity
                       couipensation




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                                  .Pm~rto Rico- Kc.' M.odelingAssumptions



                    The benefits lllodeled are based on I he folhm"ing key assumptions:

                       Technology IP Assumptions
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                        -- Inc lndes a prodttc1 lag tim,: to markd of 6 mouihs
                       The Buy-ln calculations is based on tlle following residual pront
                       split
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                        -- :!s•;.(,M<Il:l.:dillg:
                       All Technology profit is shifted l:o Puerto Rico. All marketing
                       profil remains in the US
                       OveraU modeling approilch is conservative
                       ReYenue a.nd expense prqjectious provided J'vlicroso:ft plauni.ng
                       group




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                                     Put~l·to Rico- Opcratiomtl Costs




                    lncrcrnental Costs wi.lh J.illl implementation of Plan:

                       C\1pitul Im't'<Slll1('Hl in tv!achinery & Equipment    $XX
                       [mplc.uienta1 ion Costs                                $XX
                       Redundant/ Back·up l'vlanuH~<.:turing: Stn1tcgy        $XX
                                                                              $XX




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                        Puerto Rico- TrlUlSllCtional.M.odeland Tax Stnltegy



                     Current Financial J'vlodd:
                        Microsoft pays l'vfS Puerto Rico for CDs produced at media
                       cnrrying Ynluc (assume .:'10 cent5 per CD}
                     • Fiiwnchll benefit is dcriYcd through ~936ta:-; credit given for
                       property mamil~tctu.red in Puerto Rico
                     • Bcw:fH will expire nt tl.lt~ end of FY06

                     Proposed FinanciallV[odcL
                     • l'~ii.S P"ucrto .Rko acquires exclusive license to manui:hctnre
                        software lli(!dia for the Americas retail market
                        MS Puerto Rico enters into an R&E cost sharing m:rangc.mcnt
                        with IvlS Corp
                        MS/1\iiSLI pays .lv!SPR for CDs/DVDs at a \aim~ equal to the
                        FlviV of software tec:J.wology (assmnc $!l0 per FPP CD/DVD)




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                                                     Proposed Legal Structut'c --- Pmwto Rico CF'C


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                      DVDs
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                      M:S Corp
                ~.    !vlSPR         CD:>/ DVDs to
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                      customer:'
                5.    MS paYs ''"''!'aft~· Vendor f\•r
                      mnrm!i1dunog FPT'/Sd.cd Kits
                li.   MS Corp invoJt:Gs tht:
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                                            Puerto Rico- Tax Risl•s

                     Tax Risks fmd Tax J:vlitigfHion S!rMcgy:


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                                  Puet·to .Rico ·Loc~tl O.umt•·y Tax Issues



                      Negotiations with Puerto Rico government regarding the following
                         issues:

                      •   New entity will recei\e a reduced tax n1te of 2'~·(,
                          Minimi:ze/elimillatc \Vith holding taxes on royaHies
                      •   Negotiate zero rate on ur1wind if necessary




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                       Fin.atlchtl St;ltcment 1u1.d T•·easu•·;v Issues- .Puct·to Rico



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                                      Puc1·1o Rico - Other lssucs



                     • Early buy-in
                     • Un.,:vind Strategies
                      • Operational issues
                         --· Securing plnm and equipment
                         -· Hiring qualified personnel in PR
                      • Accounting and IT Systems




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